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AO 91 (Rev. 11/11) Criminal Complaint

UNITED STATES DISTRICT COURT

 

 

 

for the
District of Columbia
United States of America ) Case: 1:21-mj-00067
V. ) Assigned to: Judge Zia M. Faruqui
KASH LEE KELLY ) Assign Date: 1/15/2021
) Description: COMPLAINT W/ARREST WARRANT
)
)
)
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of January 6, 2021 in the county of in the
District of Columbia , the defendant(s) violated:
Code Section Offense Description
18 U.S.C. 1752 (a)(1) and (2) Knowingly Entering or Remaining in any Restricted Building or Grounds

Without Lawful Authority

40 U.S.C. § 5104(e)(2)(A) and (G) Violent Entry and Disorderly Conduct on Capitol Grounds

This criminal complaint is based on these facts:

See attached statement of facts.

A Continued on the attached sheet. ‘) \
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( . \ } AMAL iy AYR URd AA

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Complainant’s signature

Special Agent Jamie L. Stranahan, FBI
Printed name and title

 

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by Telephone (specify reliable
electronic means).

 

 

Gh Zia M. Faruqui
Date: 01/15/2021 — 2021.01.15 14:22:54 -05'00'
Judge’s signature
City and state: Washington, DC PF Zia M. Faruqui, U.S. Magistrate Judge
Printed name and title
